                                    UNITED STATES DISTRICT COURT
                                    MIDDLE. DISTRICT OF TENNESSEE


PATRICIA FZE[. F.

                       Plaintiff.

v.                                                                  No.

NATIONAL RIFLE ASSOCIATION OF
AMERICA ENDORSEL) INSURANCE
PROGRAMS. AG] .A,. INC. and LIFE.
INSURANCE COMPANY OF NORTH
AMERICA,                                                  )
                                                          )
                       Defendants,                        )


                                         ?OTICE OF REMOVAL



         Defendants tile this Notice to remove to this Court an action brought against them and

currently pending in the Circuit Court of Lawrence County. Tennessee. hearing Docket No. CC

2232-08. and with respect thereto, would show this Court as follows:

         I.       The above-styled cause was commenced in the Circuit Court of Lawrence

County. Tennessee, Case No. CC-2232-08, by virtue of a Complaint filed by Plaintiff Patricia

Ezell on November 5, 2008, against Defendants. A.G.l.A., Inc. was served with process on

November 7, 2008. Defendant National Rifle Association was served with process on about

November 7. 200$ Defrndant LINA has not vct been served hut does not oppose removal of

thts ma fer to this C     ouri      Pursuant to    28    S.C   -   I 446 a.   a cop>   ol ihe aforementioned

Complaint, along with copies of         process.   are attached    hereto   and made a part of this Notice h’

reference.




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        2.       Upon inf&mation and belief, Plaintiff is a citizen of the State of Tennessee,

County of Lawrence.

         3.      This action is one of a civil nature for damages claimed as a result of alleged

breach of an insurance contract by the Defendants, At the time of his death, Plaintiff’s husband.

Herschcl Layne Lieu, was a participant in an insurance plan purchased through Life lnsurancc

Company of North America and The National Rifle Association (“Plan”). Plaintiffs action is

civil in nature, there is complete diversity jurisdiction, and this Court has jurisdiction over

Plaintiffs action under the provisions of 28 U.S.C.         i 332.

        4.       Defendants tiled this Notice of Removal in this Court on December 2. 2008.

Defendant’s Notice of Removal has been tiled within the 30 day time period in 28 U.S.C.           §
1446(h) because it is being filed within thirty days of when Plaintiff Illed the Complaint.

         5.       Ibis Court has jurisdiction over this cause under 28 LS.C. § I 332(ahl ) and

(eM I) and 28 U.S.C.   § 1441. ci seq.
        6.       There is complete diversity of citizenship between Plaintiff and Defendants.

         7.      Plaintiff alleges that her damages total SI 50.000.00. Complaint ¶ 10.

         8.       fhe time period within which Defendants are required to file this Notice oF

Removal pursuant to 28 U.S.C.            § 1446 has not et expired. Since the date on hich the
applicable Deftmdants \\cre ser\ ed with the summons and a copy of the Complaint, there ha e

been no other proceedins in this case in the     Circuit   Court of Lawrence Counn, I ennessec.

        0.        Defnd;tnt I 1\A tiles herewith a copy of all process, pleadings. and orders sened

upon all parties to this action and available from the Circuit Court of Lawrence County,

Tennessee at the time of tiling.




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          10.       The allegations of this Notice are true and correct and within the jurisdiction of

the United States District Court for the Middle District of Tennessee, and this cause of action is

removable to the United States District Court for the Middle District of Tennessee.

          WHEREFORE. Defendants file this Notice for the purpose of removing this action from

the Circuit Court of Lawrence County, Tennessee, to the United States District Court for the

Middle District of Tennessee.

                                                         BAKER, DONELSON, BEARMAN,
                                                          CALD WELL & BERKOWITZ. P.C.


                                                        Cameron SY4i1l, TN BPRNo. 017408
                                                        1800 Republic Centre
                                                        633 Chestnut Street
                                                        Chattanooga, TN 37450-1800
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                                                        and

                                                        Emily H. Plotkin, TN I3PR No. 022978
                                                        211 Commerce Street, Suite 1000
                                                        Nashville. TN 37201
                                                        (615) 726-5600 telephone
                                                        (615) 726-0464 facsimile

                                                        Counsel for Defendants




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                                CERTIFICATE OF SERVICE

        I hereby certify that I have on this the day of December. 2008. I caused a copy of
the tbre oing .Voeice vi Removal to he sen cd upon the following counsel ot record for the
plaintiff in the abo\:e_sty led cause:

                              lien Boston. Esq.
                              Boston, Holt. Sockwell & Durham, PLLC
                              235 Waterloo Street
                              p. 0. Box 357
                              Lawrenceburg. TN 38464


by deposit in the United States mail, postage prepaid and properly addressed.


                                                    BAKER. DONELSON. BEARMAN.
                                                     CALDWEI.L & BERKOWITZ. P.C.

                                                    I3
                                                    Emily 1-1. Phflcin




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